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                                   3                                 UNITED STATES DISTRICT COURT

                                   4                                NORTHERN DISTRICT OF CALIFORNIA

                                   5
                                        BRADFORD ARTHUR CLEMENTS,
                                   6                                                        Case No. 22-cv-07512-SVK
                                                       Plaintiff,
                                   7
                                                v.                                          ORDER SETTING INITIAL CASE
                                   8                                                        MANAGEMENT CONFERENCE
                                        T-MOBILE USA, INC, et al.,                          AND ADR DEADLINES
                                   9
                                                       Defendants.
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                                  12          IT IS HEREBY ORDERED that this action is assigned to the Honorable Susan van Keulen
Northern District of California
 United States District Court




                                  13   . When serving the complaint or notice of removal, the plaintiff or removing defendant must serve

                                  14   on all other parties a copy of this order, the Notice of Assignment of Case to a United States

                                  15   Magistrate Judge for Trial, and all other documents specified in Civil Local Rule 4-2. Plaintiffs or

                                  16   removing parties must file a consent or declination to proceed before a magistrate judge within 14

                                  17   days of the filing of the complaint or the removal. All other parties must file a consent or

                                  18   declination within 14 days of appearing in the case. All parties who have made an appearance

                                  19   must file a consent or declination within 7 days of the filing of a dispositive motion or the case

                                  20   will be reassigned to a district court judge. Counsel must comply with the case schedule listed

                                  21   below unless the Court otherwise orders.

                                  22          IT IS FURTHER ORDERED that this action is assigned to the Alternative Dispute

                                  23   Resolution (ADR) Multi-Option Program governed by ADR Local Rule 3. Counsel and clients

                                  24   shall familiarize themselves with that rule and with the material entitled “Dispute Resolution

                                  25   Procedures in the Northern District of California” on the Court ADR Internet site at

                                  26   http://www.cand.uscourts.gov/adr. A limited number of printed copies are available from the

                                  27   Clerk’s Office for parties in cases not subject to the court’s Electronic Case Filing program (ECF).

                                  28          IT IS FURTHER ORDERED that plaintiff or removing defendant serve upon all parties
                                            Case 5:22-cv-07512-EJD Document 3 Filed 11/30/22 Page 2 of 2




                                   1   the brochure entitled “Consenting To A Magistrate Judge’s Jurisdiction In The Northern District

                                   2   Of California", additional copies of which can be downloaded from the court’s Internet website:

                                   3   http://www.cand.uscourts.gov.

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                                   5                         CASE SCHEDULE – ADR MULTI-OPTION PROGRAM

                                   6    Date                       Event                                                           Governing Rule

                                   7    11/30/2022                 Complaint Filed

                                   8    2/7/2023                   *Last day to:                                                   FRCivP 26(f) &
                                                                   • meet and confer re: initial disclosures, early                ADR L.R.3-5
                                   9                               settlement, ADR process selection, and discovery
                                                                   plan
                                  10

                                  11                               • file ADR Certification signed by Parties and                  Civil L.R . 16-8(b)
                                                                   Counsel (form available at                                      & ADR L.R. 3-5(b)
                                  12                               http://www.cand.uscourts.gov)
Northern District of California
 United States District Court




                                  13    2/21/2023                  **Last day to file Rule 26(f) Report, complete                  FRCivP 26(a) (1)
                                                                   initial disclosures or state objection in Rule 26(f)            Civil L.R . 16-9
                                  14                               Report and file Case Management Statement per
                                  15                               Standing Order re Contents of Joint Case
                                                                   Management Statement
                                  16                               (also available at http://www.cand.uscourts.gov)
                                  17    2/28/2023                  INITIAL CASE MANAGEMENT                                         Civil L.R . 16-10
                                  18                               CONFERENCE (CMC) at 9:30 AM in:
                                                                   Courtroom 6, 4th Floor
                                  19                               Robert F. Peckham Federal Building
                                  20                               280 South 1st Street
                                                                   San Jose, CA 95113
                                  21

                                  22   * If the Initial Case Management Conference is continued, unless otherwise ordered this deadline is continued to 21
                                       days in advance of the Initial Case Management Conference.
                                  23
                                       ** If the Initial Case Management Conference is continued, unless otherwise ordered this deadline is continued to 7
                                  24   days in advance of the Initial Case Management Conference.

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